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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF OKLAHOMA

   STATE OF OKLAHOMA ex rel.                   )
   GENTNER DRUMMOND, in his capacity           )
   as Attorney General of the State of         )
   Oklahoma, and OKLAHOMA                      )
   SECRETARY OF ENERGY AND                     )
   ENVIRONMENT KEN McQUEEN, in his             )
   capacity as the Trustee for Natural         )
   Resources for the State of Oklahoma,        )
                                               )
         Plaintiffs,                           )
                                               )
   v.                                          )        Case No. 05-cv-00329-GKF-SH
                                               )
   TYSON FOODS, INC.; TYSON                    )
   POULTRY, INC.; TYSON CHICKEN,               )
   INC.; COBB-VANTRESS, INC.;                  )
   CARGILL, INC.; CARGILL TURKEY               )
   PRODUCTION, LLC; GEORGE’S, INC.;            )
   GEORGE’S FARMS, INC.; PETERSON              )
   FARMS, INC.; and SIMMONS FOODS,             )
   INC.,                                       )
                                               )
         Defendants.                           )

                                          ORDER

         Before the Court is the State of Oklahoma’s motion to quash subpoenas issued to

   the Oklahoma Department of Agriculture, Food, and Forestry (ECF No. 3071). On

   December 1, 2024, District Judge Gregory K. Frizzell partially denied the motion,

   reserving the claims of privilege or protection. (ECF No. 3097.) Judge Frizzell ordered

   the State to submit documents for in camera inspection by 9:00 a.m. on Tuesday,

   December 3, 2024. (Id.) Judge Frizzell has now referred the reserved issues to the

   undersigned. (ECF No. 3099.)

         The Court has reviewed the corrected privilege log provided by the State (ECF No.

   3072-1) and finds that it provides inadequate information to allow for a determination of
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   privilege, even with an in camera review of the documents. The log is also incredibly

   difficult to read, due to both its font size and difficulty in discerning the row dividers.

          IT IS THEREFORE ORDERED that the documents submitted for in camera

   inspection shall be bates stamped and shall be submitted directly to the undersigned.

          IT IS FURTHER ORDERED that, by 9:00 a.m., on December 3, 2024, the State

   shall re-file its privilege log. The privilege log shall provide all of the information required

   by LCvR 26-5(a), as well as the bates number for each document. The log shall be in a

   minimum of 12-point font when printed on letter- or legal-sized paper. The log may be in

   landscape format. The log shall have border lines for each cell. The log shall include a

   certification identifying the client who is claiming the privilege or protection and

   certifying that the client has agreed to the assertion such privileges or protections.

          IT IS FURTHER ORDERED that, by 9:00 a.m., on December 3, 2024, the State

   shall file a companion document providing the following information regarding any

   person listed on the privilege log as of the date of the documents: name, employer, title,

   job description, whether that person is an attorney, and any other information that bears

   on whether the documents at issue are subject to the claimed privilege or protection.

          ORDERED this 2nd day of December, 2024.




                                                      ____________________________
                                                   SUSAN E. HUNTSMAN, MAGISTRATE JUDGE
                                                   UNITED STATES DISTRICT COURT




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